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                                   5                                   UNITED STATES DISTRICT COURT

                                   6                                  NORTHERN DISTRICT OF CALIFORNIA

                                   7

                                   8       SHERRY STRICKLAND,                              Case No. 23-cv-05034-JST
                                                         Plaintiff,
                                   9
                                                                                           SCHEDULING ORDER
                                                  v.
                                  10

                                  11       SUNRUN, INC.,
                                                         Defendant.
                                  12
Northern District of California
 United States District Court




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                                  14           The Court hereby sets the following case deadlines pursuant to Federal Rule of Civil

                                  15   Procedure 16 and Civil Local Rule 16-10:

                                  16
                                                                           Event                                     Deadline
                                  17
                                             Deadline to add parties or amend the pleadings1                   January 6, 2025
                                  18
                                             Expert disclosures                                                August 15, 2025
                                  19

                                  20         Expert rebuttal                                                   September 16, 2025

                                  21         Mediation deadline                                                September 22, 2025

                                  22         Fact and expert discovery deadline                                October 15, 2025
                                  23
                                             Dispositive motions due                                           November 13, 2025
                                  24
                                             Dispositive motion oppositions due                                December 11, 2025
                                  25
                                             Dispositive motion replies due                                    January 8, 2026
                                  26
                                  27
                                       1
                                  28    After this deadline, a party may still seek amendment, but must demonstrate good cause. Fed. R.
                                       Civ. P. 16(b)(4).
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                                   1                                        Event                                        Deadline

                                   2                                                                               January 29, 2026 at
                                            Dispositive motion hearing
                                                                                                                   2:00 p.m.
                                   3

                                   4        Class certification motion due                                         February 26, 2026

                                   5        Class certification opposition due                                     March 19, 2026

                                   6        Class certification reply due                                          April 9, 2026
                                   7          Counsel may not modify these dates without leave of court. The parties shall comply with
                                   8   the Court’s standing orders, which are available https://cand.uscourts.gov/judges/tigar-jon-s-jst/.
                                   9          The Court sets a further case management conference on August 22, 2025 at 1:30 p.m.
                                  10   (because more than one conference will be set at that time, the conference may not begin precisely
                                  11   at 1:30 p.m.). The conference will proceed by video.
                                  12
Northern District of California




                                              The parties must file a joint case management conference statement by August 15, 2025.
 United States District Court




                                  13   For that statement only, the parties should disregard the local rules concerning the content of case
                                  14   management statements. Instead, the statement should be divided into two sections. The first
                                  15   section will address the status of the parties’ discovery. The parties will first list any discovery
                                  16   propounded by the Plaintiffs, the status of that discovery, and any next steps required to complete
                                  17   the discovery or conclude any dispute regarding that discovery. The parties will then provide the
                                  18   same information regarding any discovery propounded by Defendants. The parties’ statement
                                  19   must include completed discovery as well as open discovery, and should list any discovery that
                                  20   has been discussed between the parties, even if it has not yet been propounded. The second
                                  21   section of the statement will include a discussion of any other issues requiring the Court’s
                                  22   attention or that bear on the progress of the case. All future case management statements shall
                                  23   follow this format unless the Court orders otherwise. At the conclusion of the conference, the
                                  24   Court will set the date and time of the next conference.
                                  25          If the parties submit a proposed class action settlement for approval, they should ensure
                                  26   that they also submit sufficient information for the Court to evaluate the amount of the settlement
                                  27   compared to Plaintiffs’ estimated potential recovery at trial. See, e.g., Tobias v. NVIDIA Corp.,
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                                   1   No. 20-CV-06081-JST, 2025 WL 419859, at *1 (N.D. Cal. Jan. 16, 2025). Information provided

                                   2   informally in connection with a mediation, and without the exchange of formal discovery, often

                                   3   does not allow counsel to satisfy this requirement.

                                   4          The parties must take all necessary steps to conduct discovery, compel discovery, hire

                                   5   counsel, retain experts, and manage their calendars so that they can complete discovery in a timely

                                   6   manner and comply with the deadlines set by the Court. All counsel must arrange their calendars

                                   7   to accommodate these dates, or arrange to substitute or associate in counsel who can.

                                   8          Requests for continuance are disfavored. The Court will not consider any event

                                   9   subsequently scheduled by a party, party-controlled witness, expert or attorney that conflicts with

                                  10   the above dates as good cause to grant a continuance. The Court will not consider the pendency of

                                  11   settlement discussions as good cause to grant a continuance.

                                  12          IT IS SO ORDERED.
Northern District of California
 United States District Court




                                  13   Dated: May 7, 2025
                                                                                       ______________________________________
                                  14
                                                                                                     JON S. TIGAR
                                  15                                                           United States District Judge

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